                                              October 19, 2022



The Honorable Leonard P. Stark                                             VIA ELECTRONIC FILING
United States Court of Appeals for the Federal Circuit
717 Madison Place, NW
Washington, D.C. 20439

         Re:        Otsuka Pharmaceutical Co., Ltd., et al. v. Zenara Pharma Private Ltd., et al.
                    C.A. No. 19-1938-LPS (consolidated)

Dear Judge Stark:

       Pursuant to the September 30, 2022 Oral Order (D.I. 581), the parties in the above action
hereby jointly provide this joint status report.

        The parties have conferred about narrowing issues for trial. The parties have agreed to
stipulate to the undisputed issues listed below such that they need not be proven at trial.

                 1. Plaintiffs’ brexpiprazole tablet products, marketed in the United States as
                    REXULTI®, are embodiments of the asserted claims of the RE’059, ’840, ’109,
                    ’637 and ’419 patents. See Proposed Final Pretrial Order Volume I, D.I. 572, Ex. 2
                    at ¶¶ 35-45.

                 2. Apotex does not dispute that its 0.25, 0.5, 1, 2 and 3 mg generic brexpiprazole tablet
                    products satisfy all elements of claims 1, 2, 4 and 6 of the ’419 patent except for
                    the binder (b) element. See Proposed Final Pretrial Order Volume I, D.I. 572,
                    Ex. 2(A) at ¶¶ 15-16, 22-28, 30, 32-36, 37-38, 40-41. Plaintiffs’ position is based
                    on the full description in Exhibit 2(A) of the Proposed Final Pretrial Order. See
                    Proposed Final Pretrial Order Volume 1, D.I. 572 at Ex. 2(A). Apotex’s agreement
                    to the statement in paragraph 2 is contingent on the following:

                        a. The amounts of lactose monohydrate, corn starch, and microcrystalline
                           cellulose in Apotex’s products are within the claimed “10 to 98.5% by
                           weight of the excipient (a), which is at least one member selected from the
                           group consisting of lactose, corn starch, and microcrystalline cellulose”;

                        b. The amount of croscarmellose sodium in Apotex’s products is within the
                           claimed “1 to 25% by weight of disintegrant (c), which is at least one
                           member selected from the group consisting of low-substituted


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                            hydroxypropyl cellulose,         croscarmellose     sodium,     and    sodium
                            carboxymethyl starch”; and

                        c. The amount of magnesium stearate in Apotex’s products is within the
                           claimed “0.1% to 10% by weight of the lubricant (d), which is magnesium
                           stearate.”

                 3. Zenara does not dispute that the 0.25, 0.5, 1, 2 and 3 mg strengths of Zenara’s
                    generic brexpiprazole tablet products satisfy all elements of claims 1, 2, 3 and 6 of
                    the ’419 patent except for the binder (b), lubricant (d) and “the substantially does
                    not contain polyethylene glycol” elements. See Proposed Final Pretrial Order
                    Volume I, D.I. 572, Ex. 2(D) at ¶¶ 14-15, 20, 25-28, 35, 37, 40-41, 42-43, 44.
                    Plaintiffs’ position is based on the full description in Exhibit 2(D) of the Proposed
                    Final Pretrial Order. See Proposed Final Pretrial Order Volume I, D.I. 572 at
                    Ex. 2(D). Zenara’s agreement to the statement in paragraph 3 is contingent on the
                    following undisputed facts:

                        a. The amounts of lactose monohydrate, partially pregelatinized starch, and
                           microcrystalline cellulose in Zenara’s products are within the claimed “10
                           to 98.5% by weight of the excipient (a), which is at least one member
                           selected from the group consisting of lactose, corn starch, and
                           microcrystalline cellulose”; and

                        b. The amount of croscarmellose sodium (both intragranular and extra
                           granular) in Zenara’s products is within the claimed “1 to 25% by weight of
                           disintegrant (c), which is at least one member selected from the group
                           consisting of low-substituted hydroxypropyl cellulose, croscarmellose
                           sodium, and sodium carboxymethyl starch.”

                 4. Plaintiffs do not dispute the date of the publication and authenticity of the following
                    DTX exhibits1:

      Abbreviation         Patent/Pub. No.      Issue/Pub. Date (First) Inventor     Bates
    ’246 patent           5,436,246             7/25/1995       Bernotas         JGD_Brex
    (DTX-6)                                                                      003471-505
    ’254 patent           4,847,254             7/11/1989       Boegesoe         JGD_Brex
    (DTX-7)                                                                      005047-60
    ’306 publication      2003/0050306          3/13/2003       Ruhland          JGD_Brex
    (DTX-8)                                                                      005223-46
    ’416 patent           4,734,416             3/29/1988       Banno            JGD_Brex

1
  Plaintiffs do not agree that these DTX exhibits are relevant prior art for an obviousness
determination. Aside from Plaintiffs’ position that the subject matter of these documents does not
make them relevant prior art, Plaintiffs do not intend to otherwise challenge the admissibility of
these documents.


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      Abbreviation          Patent/Pub. No.     Issue/Pub. Date (First) Inventor         Bates
    (DTX-11)                                                                         003407-50
    ’528 patent             5,006,528           4/9/1991          Oshiro             JGD_Brex
    (DTX-12)                                                                         003451-70
    WO ’215                 WO 2005/019215      3/3/2005          Clark              JGD_Brex
    (DTX-16)                                                                         003595-953
    WO ’682                 WO 2004/105682      12/9/2004         Kikuchi            JGD_Brex
    (DTX-14)                                                                         003954-4034
    WO ’864                 WO 2004/026864      4/1/2004          Andreana           JGD_Brex
    (DTX-15)                                                                         004154-311

                 5. Plaintiffs do not dispute the date of publication and authenticity of the following
                    DTX exhibits2:

                     (First)
      Abbr.                             Title       Pub. Date        Source              Bates
                     Author
    Abilify PI                    Abilify Tablets   2004         FDA               JDG_Brex
    (DTX-19)                      Prescribing                                      000435-71
                                  Information
    Bandelow       Bandelow       Aripiprazole, a   2003         Ger J.            JDG_Brex
    2003                          “Dopamine-                     Psychiatry,       000791-
    (DTX-20)                      Serotonin                      6:9-16            98
                                  System                         (2003)
                                  Stabilizer” in
                                  the
                                  Treatment of
                                  Psychosis
    Burris         Burris         Aripiprazole, A   2002         J. Pharmacol.     JDG_Brex
    2002                          Novel                          Exp. Ther.,       001070-
    (DTX-21)                      Antipsychotic,                 302:381-89        78
                                  Is a                           (2002)
                                  High-Affinity
                                  Partial Agonist
                                  at
                                  Human
                                  Dopamine
                                  D2 Receptors



2
  Plaintiffs do not agree that these DTX exhibits are relevant prior art for an obviousness
determination. Aside from Plaintiffs’ position that the subject matter of these documents does not
make them relevant prior art, Plaintiffs do not intend to otherwise challenge the admissibility of
these documents.


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                  (First)
    Abbr.                        Title         Pub. Date      Source             Bates
                  Author
 Davies          Davies     Aripiprazole: A    2004        CNS Drug         JDG_Brex
 2004                       Novel Atypical                 Reviews,         001100-19
 (DTX-22)                   Antipsychotic                  10:317-36
                            Drug with a                    (2004)
                            Uniquely
                            Robust
                            Pharmacology
 Fura 2004       Fura       Discovering        2004        47 J. Med.    JDG_Brex
 (DTX-23)                   Drugs through                  Chem. 4339-51 001134-46
                            Biological                     (2004)
                            Transformation:
                            Role of
                            Pharmacological
                            ly Active
                            Metabolites in
                            Drug Discovery
 Kapur           Kapur      Serotonin-         1996        153 Am. J.       JDG_Brex
 1996                       Dopamine                       Psychiatry       004862-
 (DTX-                      Interaction and                466-             72
 822)                       Its                            476 (1996)
                            Relevance to
                            Schizophrenia
 Keltner         Keltner    Aripiprazole: A    2002        Perspectives     JDG_Brex
 2002                       Third                          Psychiatric      004873-
 (DTX-                      Generation of                  Care (2002)      76
 823)                       Antipsychotics                 38(4) 157-159
                            Begins?
 Kubo            Kubo       Influence of       2005        20             JDG_Brex
 2005                       itraconazole                   Drug Metab     004613-22
 (DTX-26)                   coadministration               Pharmacokinet.
                            and CYP2D6                     1, 55-64 (Feb.
                            genotype on the                2005)
                            pharmacokinetic
                            s of the new
                            antipsychotic
                            ARIPIPRAZOL
                            E
 Kuipers         Kuipers    N4-                1995        J. Med. Chem.,   JDG_Brex
 1995                       Unsubstituted                  38, 1942-54      002176-88
 (DTX-27)                   N1-                            (1995)
                            Arylpiperazines
                            as High-Affinity


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                  (First)
    Abbr.                        Title         Pub. Date       Source            Bates
                  Author
                            5-HT1A
                            Receptor
                            Ligands
 Lowe            Lowe       1-                 1991        34 J. Medicinal JDG_Brex
 1991                       Naphthylpiperaz                Chemistry       002311-17
 (DTX-32)                   ine Derivatives                1860 (1991)
                            as Potential
                            Atypical
                            Antipsychotic
                            Agents
 Oshiro          Oshiro     Novel              1998        J. Med. Chem.,   JDG_Brex
 1998                       Antipsychotic                  41(5):658-67     002413-22
 (DTX-34)                   Agents with                    (1998)
                            Dopamine
                            Autoreceptor
                            Agonist
                            Properties:
                            Synthesis and
                            Pharmacology
                            of 7-[4-(4-
                            Phenyl-1-
                            piperazinyl)buto
                            xy]-3,4-dihydro-
                            2(1H)-
                            quinolinone
                            Derivatives
 Ostroff         Ostroff    Risperidone        1999        60 J. Clin.      JDG_Brex
 1999                       Augmentation                   Psychiatry       006942-
 (DTX-                      of                             256-             45
 833)                       Selective                      259 (1999)
                            Serotonin
                            Reuptake
                            Inhibitors
                            in Major
                            Depression
 Patani          Patani     Bioisosterism:     1996        96 Chem. Rev.    JDG_Brex
 1996                       A Rational                     3147, 3158-59    002447-76
 (DTX-35)                   Approach in                    (1996)
                            Drug Design
 Shapiro         Shapiro    Aripiprazole: A    2003        Neuropsychop     JDG_Brex
 2003                       Novel Atypical                 harmacology      006946-
 (DTX-38)                   Antipsychotic                  28:1400-11       57


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                     (First)
      Abbr.                            Title        Pub. Date         Source              Bates
                     Author
                                 Drug                             (2003)
                                 with a Uniquely
                                 Robust
                                 Pharmacology
    Shelton        Shelton       A Novel            2001          158 Am. J.        JDG_Brex
    2001                         Augmentation                     Psychiatry        006958-
    (DTX-                        Strategy for                     131-              62
    836)                         Treating                         134 (2001)
                                 Resistant
                                 Major
                                 Depression
    Thornber       Thornber      Isosterism and     1978          7 Chemical        JDG_Brex
    1978                         Molecular                        Soc’y Revs.       003105-23
    (DTX-40)                     Modification in                  563 (1978)
                                 Drug Design
    Winans         Winans        Aripiprazole       2003          Am. J. Health-    JDG_Brex
    2003                                                          Syst.             005368-
    (DTX-86)                                                      Pharm., 60,       76
                                                                  2437-45
                                                                  (2003)

                 6. Plaintiffs do not dispute the authenticity of the following DTX exhibits3:

                     (First)
      Abbr.                            Title        Pub. Date         Source              Bates
                     Author
    (DTX-                        A Long-Term                      U.S. Nat’l Lib.   JDG_Brex
    879)                         Study                            of Med.           006661-
                                 of Aripiprazole                                    65
                                 in
                                 Patients with
                                 Major
                                 Depressive
                                 Disorder
    (DTX-                        A Study of                       U.S. Nat’l Lib.   JDG_Brex
    880)                         Adjunctive                       of Med.           006675-

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  The parties do dispute the publication date for these exhibits, and Defendants must prove their
alleged publication date at trial. Plaintiffs further do not agree that these DTX exhibits are
relevant prior art for an obviousness determination. Aside from Plaintiffs’ disagreement about
publication date and position that the subject matter of these documents does not make them
relevant prior art, Plaintiffs do not intend to otherwise challenge the admissibility of these
documents.


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                     (First)
    Abbr.                              Title        Pub. Date         Source              Bates
                     Author
                                 Aripiprazole in                                    83
                                 Patients with
                                 Major
                                 Depressive
                                 Disorder
 (DTX-                           A Study of                       U.S. Nat’l Lib.   JDG_Brex
 881)                            Adjunctive                       of Med.           006666-
                                 Aripiprazole in                                    74
                                 Patients with
                                 Major
                                 Depressive
                                 Disorder
 (DTX-                           A Study of                       U.S. Nat’l Lib.   JDG_Brex
 882)                            Aripiprazole in                  of Med.           006684-
                                 Patients with                                      91
                                 Bipolar I
                                 Disorder
                                 with a Major
                                 Depressive
                                 Episode
 (DTX-                           Study of                         U.S. Nat’l Lib.   JDG_Brex
 883)                            Aripiprazole in                  of Med.           006974-
                                 Patients with                                      81
                                 Bipolar I
                                 Disorder
                                 with a Major
                                 Depressive
                                 Episode


                 7. The parties respectfully request that the Court consolidate the Otsuka
                    Pharmaceutical Co., Ltd., et al. v. Zenara Pharma Private Ltd., et al., C.A. No. 22-
                    1269-LPS case, which involves the same patents and accused products, into the
                    above-captioned action, C.A. No. 19-1938-LPS (consolidated). The parties have
                    submitted herewith a stipulation and proposed order regarding this consolidation.

        Given that the parties have agreed to streamline these issues, the parties jointly propose
that each side be allocated fifteen (15) hours for trial. The parties are hopeful that a trial of this
length can be accommodated within the scheduled October dates.




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                                                       Respectfully,

                                                       /s/ Steven J. Balick

                                                       Steven J. Balick (#2114)


SJB/nlm

cc:      All Counsel of Record (via electronic mail)




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